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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                                          )
 In re:                                                   )   Chapter 7
                                                          )
 HIGHLAND SELECT EQUITY MASTER                            )   Case No. 23-31037-swe7
 FUND, L.P.,                                              )
                                                          )
                                  Debtor.                 )


                            APPLICATION FOR ADMISSION PRO HAC VICE

 1.       Name: Hayley R. Winograd

 2.       Firm Name: Pachulski Stang Ziehl & Jones LLP

 3.       Address: 780 3rd Ave, 34th Floor, New York, NY 10017

 4.       Phone: (212) 561-7700                       Fax: (212) 561-7777

          Email: hwinograd@pszjlaw.com

 5.       Name used to sign all pleadings: Hayley R. Winograd

 6.       Retained by: Highland Capital Management, L.P.

 7.       Admitted on May 14, 2018 and presently a member in good standing of the
          bar of the highest court of the state of New York and issued the bar license
          number of 5612569.

 8.       Admitted to practice before the following courts:
           Court:                                                     Admission Date:
           U.S. District Court, Southern District New York            March 1, 2022
           U.S. District Court, Western District New York             October 19, 2022
           U.S. Court of Appeals for the Fifth Circuit                March 24, 2021

 9.       Are you presently a member in good standing of the bars of the courts listed above?

           : Yes  No

           If “No”, please list all court which you are no longer admitted to practice:


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10.       Have you ever been subject to a grievance proceeding or involuntary removal
          proceeding while a member of the bar of any state or federal court?

         Yes        : No

        If “Yes,” please provide details:



11.     Other than minor traffic offenses, have you ever been charged, arrested, or convicted of a
         criminal offense or offenses?

         Yes        : No

        If “Yes,” please provide details:



12.     Please list all cases in the United States Bankruptcy Court, Northern District of Texas in
         which you have filed for pro hac vice in the past three years:

        Date of Application                   Case No. and Style
        11/11/2020                            19-34054, In re: Highland Capital Management,
                                              L.P.

13.     Local Counsel of record:              Melissa S. Hayward

14.     Local Counsel’s Address:              Hayward PLLC
                                              10501 N. Central Expy
                                              Suite 106
                                              Dallas, Texas 75231


       I respectfully request to be admitted to practice in the United States Bankruptcy Court for
 the Northern District of Texas for this cause only.

       I certify that I have read Dondi Properties Corp. V Commerce Savs. & Loan Ass’n, 121
F.D.R. 284 (N.D. Tex. 1988) (en banc), and the local civil and bankruptcy rules of this court and
will comply with the standards of practice adopted in Dondi and with the local civil and
bankruptcy rules.

       : I am an ECF filer. I also certify that I have served a true and correct copy of this
document upon each attorney of record and filed the application via ECF with the payment of
$100.00.




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       I am not an ECF filer. I also certify that I have served a true and correct copy of this
document upon each attorney of record and the original upon the US Bankruptcy Court
accompanied          $100.00 filing fee on ___________.
  companied with the $100.


                                                     July 17 , 2023
Hayley
  yley R. Winograd                               Date




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